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                                                                                                  FILED
                                                                                                   MAR. 21, 2022
                                 UNITED STATES DISTRICT COURT                                Clerk, U.S. District & Bankruptcy
                                                                                             Court for the District of Columbia
                                 FOR THE DISTRICT OF COLUMBIA
                                                                                Case: 1:22−cv−00791
    JOHN DOE,                                                                   Assigned To : Kollar−Kotelly, Colleen
                                                                                Assign. Date : 3/21/2022
                            Plaintiff,                                          Description: Pro Se Gen. Civ. (F−DECK)
                                                                     Civil Action No. 21-
                            v.
                                                                     Chief Judge Beryl A. Howell
    JOSEPH R. BIDEN, JR.,
    President of the United States, et al.,

                            Defendants.

                                   MEMORANDUM AND ORDER

          Plaintiff in this action, John Doe, an Iranian national currently living in Iran, has

moved to proceed under pseudonym, Pl. John Doe’s Mot. to Proceed Under Pseudonym

(“Pl.’s Mot.”), in his instant action seeking declaratory and injunctive relief in connection

with the denial of his U.S. immigrant visa application on terrorist grounds, Compl. at 1. For

the reasons set forth below, the Court will grant plaintiff’s motion, subject to any further

consideration by the United States District Judge to whom this case is randomly assigned. 1

I.        BACKGROUND

          In or around July 2016, plaintiff, an Iranian national, applied for an immigrant visa to

the United States “as the sibling of a U.S. citizen,” along with his spouse and their three

children. Compl. ¶¶ 8–9. In or around August 2018, the family “attended an immigrant visa

interview at the U.S. Embassy in Yerevan, Armenia,” id. ¶ 12, during which plaintiff was

asked about his “compulsory military service in Iran,” id. ¶ 13. After the interview, the

family members were “issued a refusal letter” noting their ineligibility to receive immigrant



1
        See LCvR 40.7(f) (providing that the Chief Judge shall “hear and determine . . . motion[s] to file a
pseudonymous complaint”).


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visas due to then-President Trump’s travel ban, but stating that “the consular officer [was]

reviewing their eligibility for a waiver under the travel ban proclamation.” Id. ¶ 14. A year

later, plaintiff’s spouse and their three children were notified that they had received a waiver

and their immigrant visas could be processed, id. ¶ 19, and in fall 2019, they “entered the U.S.

and were admitted as permanent residents,” id. ¶ 20. Plaintiff remains in Iran. Id. ¶ 1.

       In September 2021, plaintiff’s visa application was refused pursuant to “the terrorist-

related grounds of inadmissibility to the U.S.” under 8 U.S.C. § 1182(a)(3)(B). Compl. ¶ 22.

Without having access to “any explanation or indication of facts or allegations that may have

been relied upon or considered by the consular officer,” plaintiff points to his past experience

completing “compulsory military service at the IRGC [Islamic Revolutionary Guard Corps],”

id. ¶ 24, which has been designated by the U.S. government as a Foreign Terrorist

Organization, id. ¶ 16. Plaintiff has now filed this suit, challenging the U.S. government’s

application of 8 U.S.C. § 1182 to his situation under the Administrative Procedures Act, see

Compl. ¶¶ 57–77, and on constitutional grounds, see id. ¶¶ 78–91.

       Plaintiff seeks to proceed under pseudonym to protect against “the risks of being

falsely labeled as an individual who provided services and support to IRGC as a designated

Foreign Terrorist Organization, with the concomitant reputational and personal safety risks

posed by being associated falsely with IRGC,” Pl.’s Mot. ¶ 6, and with publicly

“disassociating himself with IRGC and its activities” while he remains in Iran, id. ¶ 7.

II.    LEGAL STANDARD

       Generally, a complaint must state the names of the parties and address of the plaintiff.

FED. R. CIV. P. 10(a) (“The title of the complaint must name all the parties.”); FED. R. CIV. P.

11(a) (requiring “[e]very pleading, written motion, and other paper,” including submissions




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by an unrepresented party, to “be signed” with “the signer’s address, e-mail address, and

telephone number”); LCVR 5.1(c)(1) (“The first filing by or on behalf of a party shall have in

the caption the name and full residence address of the party,” and “[f]ailure to provide the

address information within 30 days of filing may result in the dismissal of the case against the

defendant.”); LCvR 11.1 (same requirement as LCvR 5.1(c)(1)). The Federal and Local

Rules thus promote a “presumption in favor of disclosure [of litigants’ identities], which

stems from the ‘general public interest in the openness of governmental processes,’ and, more

specifically, from the tradition of open judicial proceedings.” In re Sealed Case, 931 F.3d 92,

96 (D.C. Cir. 2019) (internal citations omitted) (quoting Wash. Legal Found. v. U.S.

Sentencing Comm’n, 89 F.3d 897, 899 (D.C. Cir. 1996)). That “presumption of openness in

judicial proceedings is a bedrock principle of our judicial system.” In re Sealed Case, 971

F.3d 324, 325 (D.C. Cir. 2020) (citing Courthouse News Serv. v. Planet, 947 F.3d 581, 589

(9th Cir. 2020)). Accordingly, courts “generally require parties to a lawsuit to openly identify

themselves to protect the public’s legitimate interest in knowing all of the facts involved,

including the identities of the parties.” Id. at 326 (internal quotation marks and alterations

omitted) (quoting United States v. Microsoft Corp., 56 F.3d 1448, 1463 (D.C. Cir. 1995) (per

curiam)).

       Despite the presumption in favor of disclosure, the Federal Rules of Civil Procedure

provide a narrow set of circumstances in which a party or nonparty’s name or other personal

information may be redacted to protect privacy by limiting public access. See, e.g., FED. R.

CIV. P. 5.2 (a) (requiring, “[u]nless the court orders otherwise,” use of only initials for minors,

and only partial birthdates and social-security, taxpayer-identification, and financial account




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numbers); FED. R. CIV. P. 5.2(e)(1) (authorizing court order, for good cause, to “require

redaction of additional information”).

        Courts also, in special circumstances, may permit a party to proceed anonymously. A

party seeking to do so, however, “bears the weighty burden of both demonstrating a concrete

need for such secrecy, and identifying the consequences that would likely befall it if forced to

proceed in its own name.” In re Sealed Case, 971 F.3d at 326. Once that showing has been

made, “the court must then ‘balance the litigant’s legitimate interest in anonymity against

countervailing interests in full disclosure.’” Id. (quoting In re Sealed Case, 931 F.3d at 96).

When weighing those concerns, five factors, initially drawn from James v. Jacobson, 6 F.3d

233, 238 (4th Cir. 1993), serve as “guideposts from which a court ought to begin its analysis.”

In re Sealed Case, 931 F.3d at 97. These five factors are:

        (1) whether the justification asserted by the requesting party is merely to avoid the
        annoyance and criticism that may attend any litigation or is to preserve privacy in
        a matter of [a] sensitive and highly personal nature; (2) whether identification poses
        a risk of retaliatory physical or mental harm to the requesting party or[,] even more
        critically, to innocent non-parties; (3) the ages of the persons whose privacy
        interests are sought to be protected; (4) whether the action is against a governmental
        or private party; and relatedly, (5) the risk of unfairness to the opposing party from
        allowing an action against it to proceed anonymously.

Id. (citing James, 6 F.3d at 238).

        At the same time, a court must not simply “engage in a wooden exercise of ticking the

five boxes.” Id. Rather, the “balancing test is necessarily flexible and fact driven” and the

five factors are “non-exhaustive.” In re Sealed Case, 971 F.3d at 326. In exercising discretion

“to grant the ‘rare dispensation’ of anonymity . . . the court has ‘a judicial duty to inquire into the

circumstances of particular cases to determine whether the dispensation is warranted’. . .

tak[ing] into account the risk of unfairness to the opposing party, as well as the customary and

constitutionally-embedded presumption of openness in judicial proceedings.” Microsoft



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Corp., 56 F.3d at 1464 (quoting James, 6 F.3d at 238 (other internal citations and quotation

marks omitted)).

III.   DISCUSSION

       At this early stage of the litigation, this Court is persuaded that plaintiff has met his

burden of showing that his privacy and security interests outweigh the public’s presumptive

and substantial interest in knowing the details of judicial litigation. The public’s interest in

the litigant’s identity is de minimis compared to the significant privacy interests of plaintiff,

who reasonably fears that proceeding under his real name will expose him to the “risk of

retaliatory harm,” including persecution and harassment by the Iranian government, because

by “disassociating himself with IRGC and its activities,” plaintiff could be found “to have

committed ‘antirevolutionary behavior,’ ‘have sided with global arrogance,’ or ‘insulted’

Islam” and be subject to harassment. Pl.’s Mot. ¶ 7.

       First, as the description of plaintiff’s claim makes clear, plaintiff does not seek to

proceed under pseudonym “merely to avoid . . . annoyance and criticism,” but to “preserve

privacy” and security in a matter that is “sensitive” and potentially dangerous. In re Sealed

Case, 931 F.3d at 97. Plaintiff highlights the “reputational and personal safety risks of being

falsely associated with IRGC” and his privacy interest in not being “unfairly brand[ed] . . . as

an individual associated with terrorism.” Pl.’s Mot. ¶ 6. As plaintiff notes, this Court has

previously recognized the “risks of being associated with terrorism” as sufficient grounds for

a plaintiff to proceed pseudonymously. See Doe v. Benoit, No. 19-cv-1253 (BAH), 2019 WL

13079193, at *4 (D.D.C. Apr. 30, 2019) (citing Doe v. Lynch, No. 16-cv-253 (BAH), 2016

WL 10844617, at *1 (D.D.C. Apr. 28, 2016)).




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       Second, plaintiff has sufficiently alleged that disclosure of his identity “poses a risk of

retaliatory physical or mental harm to the requesting party or[,] even more critically, to

innocent non-parties.” In re Sealed Case, 931 F.3d at 97 (quoting James, 6 F.3d at 238).

Plaintiff explains that if his name were publicly associated with this suit and the Complaint, in

which he “disassociat[es] himself with IRGC and its activities,” he “could be deemed by the

government of the Islamic Republic of Iran to have committed ‘antirevolutionary behavior,’

‘have sided with global arrogance,’ or ‘insulted’ Islam,” which could potentially result in the

Iranian government subjecting him to persecution and harassment. Pl.’s Mot. ¶ 7.

       The third and fourth James factors weigh slightly against granting plaintiff’s motion.

Plaintiff does not allege that the interests of any minors are at risk, see In re Sealed Case, 931

F.3d at 97, and although “there is a heightened public interest when an individual or entity

files a suit against the government,” In re Sealed Case, 971 F.3d at 329, such as this one,

nothing about these proceedings creates any need for transparency with respect to plaintiff’s

identity. Cf. id. (describing the public interest as “particularly great” where regulated entity

sued government agency regarding “special exemptions” from statutory obligations). Here,

plaintiff seeks to vindicate only his own rights, and anonymity appears to be necessary to

provide him the opportunity to do so.

       Finally, defendants would suffer no “risk of unfairness” if plaintiff’s motion were

granted. See In re Sealed Case, 931 F.3d at 97 (quoting James, 6 F.3d at 238). Allowing

plaintiff to proceed under pseudonym will have no impact on any private rights, as defendants

are all government officers sued in their official capacity. See Compl. at 1. Plaintiff states his

intention to “inform Defendants of Plaintiff’s true identity” through counsel. Pl.’s Mot. ¶ 12.

Thus, allowing plaintiff to proceed anonymously will not compromise defendants’ ability to




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defend this action. In addition, plaintiff seeks only to proceed using a pseudonym, and has

not requested that all court filings be sealed.

        In sum, weighed against the minimal apparent interest in disclosure, plaintiff’s

significant and “legitimate interest in anonymity” at this early stage in the litigation is more

than sufficient to overcome “countervailing interests in full disclosure.” In re Sealed Case,

931 F.3d at 97; see also Horowitz v. Peace Corps, 428 F.3d 271, 278 (D.C. Cir. 2005) (“If

there is no public interest in the disclosure of certain information, ‘something, even a modest

privacy interest, outweighs nothing every time.’” (quoting Nat’l Ass’n of Retired Fed. Emps.

v. Horner, 879 F.2d 873, 879 (D.C. Cir. 1989))).

IV.     CONCLUSION AND ORDER

        For the foregoing reasons, it is hereby

        ORDERED that the plaintiff’s Motion to Proceed Under Pseudonym is GRANTED,

subject to any further consideration by the United States District Judge to whom this case is

randomly assigned, and the plaintiff may proceed with the case using the pseudonym “John

Doe;” it is further

        ORDERED that the plaintiff may redact any personal information that might lead to

his identification; it is further

        ORDERED that the plaintiff must file, under seal, within ten days of this Order, a

declaration containing his real name and residential address; and it is further

        ORDERED that the defendants are prohibited from publicly disclosing the plaintiff’s

identity or any personal identifying information that could lead to the identification of the

plaintiff by nonparties, except for the purposes of investigating the allegations contained in

the Complaint and for preparing an answer or other dispositive motion in response.




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SO ORDERED.

Date: March 21, 2022
                                   __________________________
                                   BERYL A. HOWELL
                                   Chief Judge




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